                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS
                                 BOSTON DIVISION

STUDENTS FOR FAIR ADMISSIONS, INC.                 )
                                                   )
                              Plaintiff,           )
                                                   )
               v.                                  )       Civil No. 1:14-CV-14176 (ADB)
                                                   )
PRESIDENT AND FELLOWS OF HARVARD                   )
COLLEGE (HARVARD CORPORATION)                      )
                                                   )
                              Defendant.           )



            NOTICE OF WITHDRAWAL OF APPEARANCE OF COUNSEL

       Pursuant to the Federal Rules of Civil Procedure, Brenda L. Shum hereby withdraws her

appearance pro hac vice as co-counsel for Student Amici in this proceeding as she will no longer

be employed by the Lawyers’ Committee for Civil Rights Under Law as of May 17, 2019. Student

Amici will continue to be represented by other attorneys at the Lawyers’ Committee for Civil

Rights Under Law, Boston Lawyers Committee, Asian Americans Advancing Justice-Los

Angeles, and Arnold & Porter Kaye Scholer LLP, who have already filed an appearance on behalf

of Student Amici in this matter.

       WHEREFORE, Brenda L. Shum respectfully requests this Court to permit her to withdraw

as co-counsel for Student Intervenors.

DATED:         May 16, 2019

                                                                       /s/ BLS
                                                              Brenda L. Shum (pro hac vice)
                                               Lawyers’ Committee for Civil Rights Under Law
                                                                    OSB Bar Number 961146
                                                                1500 K Street NW, Suite 900
                                                                      Washington, DC 20005
                                                                              (202) 662-8662
                                                              bshum@lawyerscommittee.org
                                CERTIFICATE OF SERVICE

       I hereby certify that on May 16, 2019, a true and correct copy of the foregoing was filed

electronically. Notice of this filing will be sent by email to all parties by the Court’s electronic

filing system. Parties may access this filing through the Court’s CM/ECF System.

DATED:         May 16, 2019

                                                             /s/ Lawrence E. Culleen
                                                               Lawrence E. Culleen (pro hac vice)
                                                               Arnold & Porter Kaye Scholer LLP
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